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 1                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
 2                            MCALLEN DIVISION
 3         JUANA CRUZ, OFELIA          )
           BENAVIDES, JOSE ELIAS       )
 4         N.G, GABRIELA VELAZQUEZ,    )
           HELESIO CRUZ, ANGELICA      )
 5         CHAVEZ, CONCEPCION PEREZ, )
           OLGA PEREZ, MAVRIGO         )
 6         SAENZ, JORGE MAOLEON,       )
           HECTOR SANCHEZ, HECTOR      )
 7         GONZALEZ, YESSY PEREZ       )
           MARTINEZ, MARIA DE          )
 8         LOURDES CRUZ, RESENDO       )
           LIEVANOS, ELIZABETH LARA, )
 9         LUIS ALBERTO ZUNIGIA        )
           CASTILLO, MIGUEL            )
10         CABALLERO SANCHEZ, CARLOS ) CASE NO: 7:23-CV-00343
           DANIEL LOPEZ, GILDA         )
11         RIVAS, ARMANDO MORALES DE )         JURY DEMANDED
           LLANO, LAZARO GARCIA,       )
12         MARIA DE JESUS MEDINA,      )
           RICHARD ESQUIVEL, RAFAEL    )
13         SANCHEZ, GUILLERMO RUIZ,    )
           ROSA QUINTANILLA,           )
14                                     )
                        PLAINTIFFS,    )
15                                     )
           VS.                         )
16                                     )
           DELGAR FOODS, LLC A/K/A     )
17         DELIA'S TAMALES,            )
                                       )
18                      DEFENDANT.     )
         *******************************************************
19                          ORAL DEPOSITION OF
20                      ARMANDO MORALES DE LLANO
21                             June 26, 2024
22      ********************************************************
23                      ORAL DEPOSITION of ARMANDO MORALES DE
24      LLANO, produced as a witness at the instance of the
25      Defendant, and duly sworn, was taken in the above-styled

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 1   and numbered cause on the 26th day of June 2024, from         1                    INDEX
 2   2:04 p.m. to 4:55 p.m., before Priscilla R. Maldonado,        2                                           PAGE
 3   CSR, in and for the State of Texas, reported by reported      3   Appearances..................................... 3
 4   by stenograph, at the Law Offices of Ricardo Gonzalez,        4   ARMANDO MORALES DE LLANO
 5   124 S. 12th Ave, Edinburg, Texas, pursuant to the             5      Examination By Mr. Quezada............... 8
 6   Federal Rules of Civil Procedure and the provisions           6   Changes and Signature........................... 51
 7   stated on the record or attached.                             7   Reporter's Certification........................ 53
 8                                                                 8
 9                                                                 9                 EXHIBITS
10                                                                10   NUMBER DESCRIPTION                                    PAGE
11                                                                11   Exhibit 1 Declaration                       30
12                                                                12   Exhibit 2 Request for Production                 45
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 1           APPEARANCES
 2 COUNSEL FOR THE PLAINTIFFS:
                                                                   1             THE REPORTER: We are now on the record.
 3    RICARDO GONZALEZ                                             2   Today is June 26, 2024, and the time is 2:04 p.m.
      OXFORD & GONZALEZ
 4    124 SOUTH 12TH AVENUE                                        3             This is the deposition of Armando Morales
      EDINBURG, TEXAS 78539                                        4   De Llano, produced at the request of the Defendant in
 5    Tel: 956-383-5654
      RIC@OXFORDGONZALEZ.COM                                       5   Case No. 7:23-CV-00343, styled Juana Cruz et. al. versus
 6                                                                 6   Delgar Foods, LLC D/B/A Delia's.
 7 COUNSEL FOR THE DEFENDANT:
 8    STEPHEN J. QUEZADA                                           7             My name is Priscilla Maldonado, CSR 12025,
      OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.               8   representing Veritext.
 9    500 DALLAS ST., STE 3000
      HOUSTON, TEXAS 77002                                         9             Would counsel please state their appearance
10    Tel: 713-655-5757
      STEPHEN.QUEZADA@OGLETREE.COM
                                                                  10   for the record?
11                                                                11             MR. QUEZADA: Stephen Quezada, for the
      LORENA D. VALLE
12    PORTER HEDGES LLP                                           12   Defendant.
      1000 MAIN STREET, 36TH FLOOR                                13             MS. VALLE: Lorena Valle, for the
13    HOUSTON, TEXAS 77002-6341
      Tel: 713-226-6000                                           14   Defendant.
14    LVALLE@PORTERHEDGES.COM                                     15             MR. GONZALEZ: Ricardo Gonzalez, on behalf
15    ELIZABETH SANDOVAL CANTU
      RAMON WORTHINGTON NICOLAS & CANTU, PLLC                     16   of the Plaintiffs.
16    1506 SOUTH LONE STAR WAY, SUITE 5
      EDINBURG, TEXAS 78539
                                                                  17              ARMANDO MORALES DE LLANO,
17    Tel: 945-294-4800                                           18   having been first duly sworn, testified through the
      ECANTU@RAMONWORTHINGTON.COM
18                                                                19   duly-sworn interpreter as follows:
19 ALSO PRESENT:                                                  20                  EXAMINATION
20    NICOLAS GIBLER, INTERPRETER
      MIGUEL CABALLERO, PLAINTIFF                                 21   BY MR. QUEZADA:
21    LUIS ZUNIGA, PLAINTIFF                                      22      Q. Good afternoon, Mr. Morales.
      OLGA PEREZ, PLAINTIFF
22    CARLOS LOPEZ, PLAINTIFF                                     23      A. Good afternoon.
23                                                                24      Q. So Mr. Morales, I know that you seem to
24
25                                                                25   understand English fairly well. We're using a
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 1      Q. What's the highest level of education you've            1   correct?
 2   received?                                                     2      A. Lately, yes.
 3      A. High school.                                            3      Q. Okay. And you also terminated people?
 4      Q. And in what country was that?                           4      A. Well, lately, I had to have the consent of
 5      A. In Mexico. Nuevo Leon, Mexico.                          5   human resources.
 6      Q. Okay. And you worked for Delia's from 2012              6      Q. Okay. So you could recommend someone for
 7   until May 2, 2023; is that right?                             7   termination, and then human resources approved?
 8      A. That is correct.                                        8      A. That is correct.
 9      Q. And your title was supervisor?                          9      Q. And while you were a supervisor for Delia's,
10      A. That is correct.                                       10   you did, in fact, hire some people, correct?
11      Q. Were you a supervisor the whole time?                  11      A. That is correct.
12      A. No. When I came in I was a manager for about           12      Q. And you did, in fact, make the -- make the
13   two months, and then I became a supervisor.                  13   decision to terminate some people, correct?
14      Q. Okay. And so can -- just so we understand the          14      A. Correct.
15   hierarchy, it's supervisor, then under supervisor is a       15      Q. And you also -- sorry.
16   manager, then under manager is team leaders?                 16            MR. QUEZADA: You got the correct?
17      A. That is correct.                                       17      Q. (BY MR. QUEZADA) And you also made decisions
18      Q. Who was your supervisor?                               18   about disciplining people?
19      A. At the beginning or lately?                            19      A. When authorized by human resources as well.
20      Q. At -- at the end of your employment.                   20      Q. You could recommend it to human resources and
21      A. Guadalupe Franco.                                      21   then they approved it?
22      Q. Okay. And during your employment, you were             22      A. That is correct.
23   paid $1,326 per week, that was your last rate?               23      Q. Was there ever a hiring, termination, or
24      A. Yes. That is correct.                                  24   disciplinary decision, that you made, that human
25      Q. And for how long did you have that salary?             25   resources rejected?
                                                        Page 10                                                          Page 12

 1   What years?                                                   1      A. Never.
 2      A. I do not recall, exactly.                               2      Q. And with regard to the store for which you were
 3      Q. Okay. And you supervised three employees; is            3   responsible, other than executive level employees, were
 4   that right?                                                   4   you the highest-ranking employee responsible for that
 5      A. I supervised all employees.                             5   store?
 6      Q. About how many?                                         6      A. That is correct.
 7      A. Between 30 to 35. It would vary.                        7      Q. And you were responsible for the finances of
 8      Q. And at what -- what restaurants or what stores?         8   the store?
 9      A. At 495 and Jackson.                                     9      A. That is correct.
10      Q. Was it just one store?                                 10      Q. And that means making sure cash was being
11      A. That's correct.                                        11   counted correctly and deposited?
12      Q. Okay. And just so I'm clear, the 30 to 35              12      A. That is correct.
13   employees were your direct reports?                          13      Q. Reconciling the cash register sales for that
14      A. It depends on the case.                                14   day?
15      Q. Okay. So about how many employees directly             15      A. That is correct.
16   reported to you?                                             16      Q. You were responsible for managing -- you had
17      A. The managers. There's two.                             17   ultimate responsibility for managing the inventories?
18      Q. So two managers reported directly to you?              18      A. That is correct.
19      A. That is correct.                                       19      Q. Did you have ultimate responsibility to make
20      Q. And those were full-time managers?                     20   sure employees were following rules?
21      A. That is correct.                                       21      A. That is correct.
22      Q. And then, under those full-time mangers were           22      Q. And that includes rules about attendance?
23   the remaining 30 to 33 employees, fair?                      23      A. Correct.
24      A. Yes. That is correct.                                  24      Q. Rules about punching in and punching out
25      Q. While you were a supervisor, you hired people,         25   accurately?
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 1      A. That is correct.                                       1   indicated to us that you had to seek approval from human
 2      Q. Rules about wearing the correct attire?                2   resources, you still had the discretion and independent
 3      A. That is correct.                                       3   judgment to make those decisions?
 4      Q. Rules about managing the food properly?                4      A. No. The rest I would have to consult or check
 5      A. That is correct.                                       5   with my supervisor above me.
 6      Q. You'd also -- were the ultimate authority over,        6      Q. Okay. And was that just for approval?
 7   perhaps, customer complaints; is that right?                 7      A. That's correct.
 8      A. That is correct.                                       8      Q. And let's talk about that process. Would you
 9      Q. Were you responsible for overseeing health             9   take the decision to your supervisor, tell the
10   inspections?                                                10   supervisor what it was you wanted to do, and the
11      A. That's correct.                                       11   supervisor said okay?
12      Q. And you were also responsible for receiving           12      A. No. She had to consult with somebody else.
13   shipments from suppliers and vendors?                       13      Q. Okay. Were there any decisions that you felt
14      A. Well, I was responsible for that, but the one's       14   you could not make with your own judgment or discretion?
15   who actually inspected it were the managers.                15      A. Too many.
16      Q. Got it. Would you -- would you order supplies         16      Q. Okay. Well, when you would recommend a
17   and goods to make food?                                     17   decision to your supervisor, would that decision
18      A. Well, the managers did. And I was the one who         18   normally be followed?
19   checked the reports.                                        19      A. All the time.
20      Q. Okay. What kind of reports did you review and         20      Q. Okay. And that was for the entire time that
21   approve for the store?                                      21   you were a supervisor, correct?
22      A. All kinds.                                            22      A. That is correct.
23      Q. Can you give us some examples, please?                23      Q. And you became supervisor some -- a couple
24      A. Fax, calling attention to the employees'              24   months after you were hired by the company in 2012?
25   tardiness, customer complaints.                             25      A. That is correct.
                                                       Page 14                                                        Page 16

 1      Q. Okay. Would you check -- well, would you               1   Q. Did you have vacation at the company?
 2   manage the finances of a store? In other words, making       2   A. Yes.
 3   sure that the store was operating in a way that              3   Q. How much?
 4   generated revenue and profit for the company?                4   A. Twice a year. Two weeks.
 5      A. That is correct.                                       5   Q. So two weeks paid vacation per year?
 6      Q. Did you have to sign off on any sort of                6   A. Yes.
 7   financial reports?                                           7   Q. And you took that paid vacation?
 8      A. All of them.                                           8   A. Yes.
 9      Q. For that store?                                        9   Q. You had health insurance at the company?
10      A. That's right.                                         10   A. Yes.
11      Q. And once you signed it and approved it, that          11   Q. And the company paid your premium for you?
12   report went to corporate office?                            12   A. Yes.
13      A. That is correct.                                      13   Q. You had vision benefits at the company?
14      Q. And you were the ultimate approver of those           14   A. Yes.
15   financial documents before they went to the corporate       15   Q. And the company paid that premium for you?
16   office, correct?                                            16   A. Yes.
17      A. That is correct.                                      17   Q. You had dental insurance at the company?
18      Q. And with all the decisions that we've discussed       18   A. It was optional.
19   that you made in your position as a supervisor, you had     19   Q. Did you choose to have that?
20   the independent discretion and judgment to make those       20   A. No.
21   decisions, correct?                                         21   Q. Did you have a 401(k) at the company?
22      A. Well, it depends. In some of them, as I said          22   A. No.
23   before, and I repeat again, I had to check with human       23   Q. Okay. Can you tell us why you are suing
24   resources.                                                  24 Delia's?
25      Q. Okay. So except for the ones that you                 25   A. Discrimination and wrongful termination.
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 1      Q. And any other reason?                               1      Q. Did you-all have a armed vehicle service that
 2      A. No.                                                 2   came and picked up the cash from the store?
 3      Q. And when you're talking about discrimination        3      A. No.
 4   and wrongful termination, for both things, you're         4      Q. Did you deposit on behalf of the store?
 5   talking about the termination decision?                   5      A. Yes.
 6      A. That is correct.                                    6      Q. And would you ever go get cash from the bank
 7      Q. And that's the termination decision that you        7   for the store?
 8   were informed off on May 2, 20 --                         8      A. No.
 9      A. That is correct.                                    9      Q. You just deposited it?
10      Q. And that was 2023. I don't know if I got that.     10      A. That is correct.
11      A. Yes. 2023.                                         11      Q. Who told you about the lawsuit -- this lawsuit?
12      Q. Okay. Got it. Do you understand that the           12      A. No. I asked -- well, there was a comment and I
13   reason your employment was terminated was because the    13   asked for information. So I resorted to the lawyer and
14   government informed Delia's that it could no longer      14   asked for information.
15   continue employing you?                                  15      Q. Okay. From whom did you hear the comment?
16            MR. GONZALEZ: Objection; form.                  16      A. I asked a co-worker.
17      A. No.                                                17      Q. And what co-worker was that?
18      Q. (BY MR. QUEZADA) What do you believe is the        18      A. Carlos Lopez.
19   basis for the discrimination or the wrongful             19      Q. Who's in the room with us right now?
20   termination?                                             20      A. Yes. That is correct.
21      A. What the basis? What do you mean?                  21      Q. And what did Mr. Lopez tell you?
22      Q. Do you believe that there's -- are you saying      22      A. That he was going to find out about the phone
23   that you believe it is simply unfair? Or is there a      23   of the attorney.
24   basis that you believe caused the discrimination or      24      Q. When you were a supervisor -- well, let me ask
25   wrongful termination?                                    25   you this. In this case, there's an allegation that
                                                    Page 18                                                           Page 20

 1      A. I believe is -- I think it's discrimination         1   Delia's kept two sets of books. Are you aware of that
 2   because other people who were in my same conditions       2   allegation?
 3   remained.                                                 3      A. What books are you referring to?
 4      Q. And when you say "in your same condition", the      4      Q. I honestly don't know.
 5   condition that you're talking about -- you're talking     5      A. Honestly, I don't either.
 6   about lacking authorization to work in the United         6      Q. Okay. And certainly as a supervisor, you were
 7   States?                                                   7   not keeping two sets of books, correct?
 8      A. That is correct.                                    8      A. No. Well, it depends. Because I had -- there
 9      Q. Do you know whether any of those people you are     9   were lots of different kinds of books. But in this
10   thinking of were also identified to Delia's, by the      10   case, you're referring to two sets of books. I don't
11   government, as being unable to continue employment?      11   know what you're referring to.
12      A. No. Because they never wanted to show us           12      Q. What kind of books did you keep?
13   the -- the alleged list that the government allegedly    13      A. Well, there were different books that I had
14   sent them.                                               14   separately. Reports, for instance, absenteeism, manager
15      Q. And -- oh. You had keys to the restaurants,        15   reports, dates of purchases, or expiration dates of
16   correct?                                                 16   certain items. Different kinds of books like that.
17      A. No. Not now.                                       17      Q. And when you gave the general category of
18      Q. I'm sorry. When -- when you were employed by       18   reports, is there a more specific report that you can
19   Delia's?                                                 19   identify for us?
20      A. Yes.                                               20      A. No.
21      Q. And did you have codes to the alarm systems?       21      Q. Buy you're not aware of two sets of financial
22      A. Yes.                                               22   books, correct?
23      Q. Did you have -- I don't even know if there is      23      A. Correct.
24   one, but did you have codes to any safe in the store?    24      Q. And you're not aware of any two sets of books
25      A. Yes.                                               25   regarding pay, correct?
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 1      A. No. Never.                                         1           Q. As a supervisor, did you create the work
 2      Q. And that was for at least the last three years     2        schedules?
 3   of your employment, right?                               3           A. That is correct.
 4      A. That is correct.                                   4           Q. And nobody told you how to do that, you did it
 5      Q. Did you ever miss a paycheck?                      5        with your own discretion?
 6      A. No. Never.                                         6           A. Well, I based myself on the permissions that
 7      Q. And you were paid the -- I think what you're       7        the employee's requested.
 8   telling us is that you were paid the same salary,        8           Q. And you knew that part of your duty as a
 9   regardless of the number of days or number of hours      9        supervisor was if an employee came to you and said their
10   worked, correct?                                        10        pay was incorrect, that you needed to get it -- get that
11      A. That is correct.                                  11        corrected?
12      Q. And that was true for at least the last three     12           A. No. That was not part of my job. I told them
13   years of your employment, correct?                      13        to talk to human resources and that they took care of
14      A. Yes. That is correct.                             14        that.
15      Q. I'm going to show you what I'm marking as         15           Q. Got it. Okay. Would you do performance
16   Exhibit 1, okay? And I want you to review the document 16         evaluations of employees?
17   and let me know when you're ready to discuss it. But my 17           A. Yes.
18   main question is going to be whether that's your        18           Q. Okay. Would you do employee training?
19   signature on the second page that we see.               19           A. Yes. That too.
20            (Exhibit No. 1 marked.)                        20           Q. Did you do any budgeting for the store?
21      A. I'm ready.                                        21           A. How so?
22      Q. (BY MR. QUEZADA) Okay. Is that your signature 22               Q. Like at the end of the year or at the end of
23   we see on the second page?                              23        the quarter or month, even, estimate that we're gonna
24      A. 100 percent.                                      24        need X dollars of masa or whatever supplies?
25      Q. Okay. The handwriting that we see on Items 1      25           A. No. Absolutely all of the merchandise was sent
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 1   through 9, is that your handwriting or someone else's?        1   to us from production. We didn't spend any money on
 2      A. Somebody else's.                                        2   that at all.
 3      Q. Whose handwriting is that?                              3      Q. Do you feel that you did a good job of making
 4      A. The person who translated this thing for me.            4   sure employees followed workplace rules?
 5      Q. And who was that?                                       5      A. 100 percent.
 6      A. Mr. Valde.                                              6      Q. After separating from Delia's -- after your
 7      Q. Mr. Balde?                                              7   employment ended with Delia's, for how long were you
 8      A. Valde.                                                  8   unemployed?
 9      Q. How do you spell that?                                  9      A. In order to get a stable job, like the one I
10      A. V-A-L-D-E, Valde.                                      10   have right now, five months.
11      Q. Okay. And where is that person, Mr. Valde?             11      Q. Okay. Did you have any income of any kind in
12      A. He's the other attorney of ours. Or maybe he           12   that five-month period?
13   works for this guy, Richard.                                 13      A. Yes. I tried for other jobs, but the pay was
14      Q. Okay. Mr. Alamia?                                      14   very low.
15      A. Yes.                                                   15      Q. Okay. About how much pay did you receive in
16      Q. Did you review Exhibit 1 before you signed it?         16   that five-month period?
17      A. Yes.                                                   17      A. Well, it would vary. And, you know, I had two
18      Q. Are you able to read English?                          18   or three jobs, and the pay was insufficient. And I
19      A. No.                                                    19   didn't -- I mean, I didn't quite make ends meet, so I
20      Q. Underneath your name, on the second page --            20   had to use my savings and I ended up with nothing.
21   well, excuse me, underneath your signature, actually,        21      Q. How much did you have in savings that you used?
22   there's a date. Did you write that date?                     22      A. Approximately $15,000.
23      A. No.                                                    23      Q. And did you have that in cash or was that in a
24      Q. Okay. Who wrote that?                                  24   bank?
25      A. Mr. Valde.                                             25      A. At the bank.
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 1 go ahead and call the judge now, actually. And I'll                   1   bonuses, correct?
 2 also go ahead with Mr. Morales in the room, Ms. Perez --              2      A. Yes. They would give us bonuses.
 3 Olga Perez, Carlos Lopez, Luis Zuniga, and Miguel                     3      Q. How frequently would you get bonuses?
 4 Caballero in the room, admonish and remind of the                     4      A. Every year in January.
 5 obligations to preserve communications and information.               5      Q. And how much was that bonus?
 6 And remind everyone that you can't alter, delete, or                  6      A. Well, it would vary. The last one, I don't
 7 destroy those. Okay. And with that, we'll --                          7   remember if it was 12,000 or 13,000.
 8          THE REPORTER: Off the record?                                8      Q. Okay. So including your bonus, what was your
 9          MR. QUEZADA: Sure.                                           9   total annual compensation with your salary and your
10          THE REPORTER: Off the record at 3:30 p.m.                   10   bonus together?
11          (Break taken from 3:30 p.m. to 4:46 p.m.)                   11      A. If I'm not mistaken it was around 63.
12          THE REPORTER: Back on the record. The                       12      Q. 63 or 73?
13 time is 4:46 p.m.                                                    13      A. 63. I believe so. I don't remember.
14    Q. (BY MR. QUEZADA) Okay, Mr. Morales, we're back                 14      Q. Oh. We were on the declarations. That's
15 on the record. And just a reminder that you are under                15   right.
16 oath. Okay?                                                          16            So on a weekly basis, what is your best
17    A. Okay.                                                          17   estimate of the normal hours worked per week -- what
18    Q. When we went off the record, it was because we                 18   were your regular hours worked per week?
19 were trying to resolve the issue with regard to some                 19      A. Between 60 and 65 hours.
20 WhatsApp messages, correct?                                          20      Q. Oh, what is your cell phone number and who is
21    A. Right. Correct.                                                21   the carrier?
22    Q. And since then, the judge overseeing this case                 22      A. 956-313-8224 and it's Cricket.
23 has entered an order that those WhatsApp messages should             23      Q. Okay. And for how long have you had that
24 be produced, save any privileged communications. Do you              24   phone?
25 understand that?                                                     25      A. When they took away the company one -- of
                                                              Page 46                                                         Page 48

 1       A. No.                                                          1   course, it was in May. So it's one -- one year and two
 2            MR. GONZALEZ: It doesn't matter.                           2   months.
 3       Q. (BY MR. QUEZADA) Okay. And specifically the                  3       Q. Okay. And you had it -- so you had a Delia --
 4   order that the judge entered states telephone conference            4   a cell phone from Delia's, correct?
 5   held regarding dispute during deposition of Plaintiff               5       A. Yes.
 6   Armando Morales. The Court ordered that Plaintiff shall             6       Q. Was there any other company benefit that you
 7   produce all non-privileged messages in the group chat.              7   had, in terms of pay or cell phone, or anything else
 8       A. What is privileged mean?                                     8   that you received as a benefit?
 9       Q. Privileged --                                                9       A. No. It was just a cell phone.
10       A. Private?                                                    10       Q. Okay. You've understood my questions today,
11       Q. No, sir. Privileged as a communication between              11   sir?
12   you and an attorney.                                               12       A. That is right.
13       A. So we'll have to show my wife's and my children             13       Q. And you've given me accurate responses?
14   and everybody else's?                                              14       A. That is right.
15       Q. No, sir. It's just the chat about this                      15       Q. Do you have any confusion or doubt about what
16   lawsuit. I forget what the chat was titled. I think                16   the Court ordered regarding that WhatsApp chat with the
17   it's Asuntos Delia or something like that.                         17   other plaintiffs in the lawsuit?
18       A. Okay.                                                       18       A. No. Not at all.
19       Q. Okay. All right. And I've looked at some of                 19       Q. Okay.
20   them and we're still trying to export them. Okay? But              20             MR. QUEZADA: At this point, I'll reserve
21   you understand that it's important that you not delete             21   the balance of my question -- questions, once we have
22   the chat or any specific messages within that chat,                22   the WhatsApp messages produced, to the extent I even
23   correct?                                                           23   need to ask any. The messages speak for themselves, but
24       A. Okay.                                                       24   I'll go ahead and -- and pass the witness.
25       Q. Part of your pay at Delia's consisted of                    25             MR. GONZALEZ: We'll reserve ours until the
                                                              Page 47                                                         Page 49

                                                                                                              13 (Pages 46 - 49)
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 1 time of trial.                                                  1       I, ARMANDO MORALES DE LLANO, have read the
                                                                   foregoing deposition and hereby affix my signature that
 2            MR. QUEZADA: And I'll just note for the            2 same is true and correct, except as noted above.
 3 record that the four individuals identified earlier are       3
 4 still in the room.                                            4
                                                                 5               _________________________________
 5            THE REPORTER: Off the record at 4:55 p.m.                          ARMANDO MORALES DE LLANO
 6            (Deposition concluded at 4:55 p.m.)                6
 7                                                               7
                                                                 8 THE STATE OF TEXAS )
 8
                                                                 9 COUNTY OF _____________)
 9                                                              10             Before me, ________________________, on
10                                                                 this day personally appeared ARMANDO MORALES DE LLANO,
                                                                11 known to me (or proved to me under oath or through
11
                                                                   ______________________)(description of identity card or
12                                                              12 other document) to be the person whose name is
13                                                                 subscribed to the foregoing instrument and acknowledged
                                                                13 to me that they executed the same for the purposes and
14
                                                                   consideration therein expressed.
15                                                              14
16                                                                               Given under my hand and seal of
17                                                              15 office this ______ day of ________________, 2024.
                                                                16
18                                                              17
19                                                                         ___________________________________________
20                                                              18         Notary Public in and for the State of Texas
                                                                19
21                                                              20
22                                                              21
23                                                              22
                                                                23
24                                                              24
25                                                              25 Job No. HOU6734283
                                                        Page 50                                                            Page 52
                                                                   1            IN THE UNITED STATES DISTRICT COURT
 1          CHANGES AND SIGNATURE                                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                                                   2                  MCALLEN DIVISION
 2 WITNESS NAME: ARMANDO MORALES DE LLANO                          3     JUANA CRUZ, OFELIA                 )
 3 DATE OF DEPOSITION: 06/26/2024                                        BENAVIDES, JOSE ELIAS                 )
                                                                   4     N.G, GABRIELA VELAZQUEZ, )
 4 PAGE LINE       CHANGE            REASON                              HELESIO CRUZ, ANGELICA )
                                                                   5     CHAVEZ, CONCEPCION PEREZ, )
 5 ________________________________________________________              OLGA PEREZ, MAVRIGO                     )
                                                                   6     SAENZ, JORGE MAOLEON,                     )
 6 ________________________________________________________              HECTOR SANCHEZ, HECTOR )
                                                                   7     GONZALEZ, YESSY PEREZ                     )
 7 ________________________________________________________              MARTINEZ, MARIA DE                   )
 8 ________________________________________________________        8     LOURDES CRUZ, RESENDO                       )
                                                                         LIEVANOS, ELIZABETH LARA, )
 9 ________________________________________________________        9     LUIS ALBERTO ZUNIGIA                   )
                                                                         CASTILLO, MIGUEL                 )
10 ________________________________________________________       10     CABALLERO SANCHEZ, CARLOS ) CASE NO: 7:23-CV-00343
                                                                         DANIEL LOPEZ, GILDA                 )
11 ________________________________________________________       11     RIVAS, ARMANDO MORALES DE )                    JURY DEMANDED
                                                                         LLANO, LAZARO GARCIA,                     )
12 ________________________________________________________       12     MARIA DE JESUS MEDINA, )
13 ________________________________________________________              RICHARD ESQUIVEL, RAFAEL )
                                                                  13     SANCHEZ, GUILLERMO RUIZ, )
14 ________________________________________________________              ROSA QUINTANILLA,                  )
                                                                  14                        )
15 ________________________________________________________                        PLAINTIFFS, )
                                                                  15                        )
16 ________________________________________________________              VS.                  )
                                                                  16                        )
17 ________________________________________________________              DELGAR FOODS, LLC A/K/A )
18 ________________________________________________________       17     DELIA'S TAMALES,                )
                                                                                            )
19 ________________________________________________________       18               DEFENDANT. )
                                                                  19    *******************************************************
20 ________________________________________________________       20               REPORTER'S CERTIFICATION
                                                                             DEPOSITION OF ARMANDO MORALES DE LLANO
21 ________________________________________________________       21                   June 26, 2024
                                                                  22           I, Priscilla Maldonado, Certified Shorthand
22 ________________________________________________________            Reporter in and for the State of Texas, hereby certify
23 ________________________________________________________       23   to the following:
                                                                  24                  That the witness, ARMANDO MORALES DE
24 ________________________________________________________            LLANO, was duly sworn by the officer and that the
                                                                  25   transcript of the oral deposition is a true record of
25   Job No. HOU6734283                                                the testimony given by the witness;
                                                        Page 51                                                                         Page 53

                                                                                                                      14 (Pages 50 - 53)
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 1             I further certify that pursuant to
     FRCP Rule 30(f)(1) that the signature of the deponent:
 2
              __X__ was requested by the deponent or a
 3 party before the completion of the deposition and that
   the signature is to be before any notary public and
 4 returned within 30 days from date of receipt of the
   transcript. If returned, the attached Changes and
 5 Signature Page contains any changes and the reasons
   therefor;
 6
              _____ was not requested by the deponent
 7 or a party before the completion of the deposition.
 8               I further certify that I am neither
   counsel for, related to, nor employed by any of the
 9 parties or attorney in the action in which this
   proceeding was taken, and further that I am not
10 financially or otherwise interested in the outcome of
   the action.
11
12            Certified to by me this July 11, 2024.
13
14
15
                 <%32255,Signature%>
16               Priscilla Maldonado, CSR 12025
                 Expiration Date: 06-30-2025
17               Veritext Legal Solutions
                 Firm Registration No. 571
18               300 Throckmorton Street, Suite 1600
                 Fort Worth, Texas 76102
19               817-336-3042
20
21
22
23
24
25
                                                                    Page 54

 1 RICARDO GONZALEZ
 2 RIC@OXFORDGONZALEZ.COM
 3                  July 11, 2024
 4 RE: Cruz, Juana, Et Al v. Delgar Foods LLC, Et Al.
 5     6/26/2024, Armando Morales DeLlano (#6734283)
 6     The above-referenced transcript is available for
 7 review.
 8     Within the applicable timeframe, the witness should
 9 read the testimony to verify its accuracy. If there are
10 any changes, the witness should note those with the
11 reason, on the attached Errata Sheet.
12     The witness should sign the Acknowledgment of
13 Deponent and Errata and return to the deposing attorney.
14 Copies should be sent to all counsel, and to Veritext at
15 errata-tx@veritext.com.
16 Return completed errata within 30 days from
17 receipt of testimony.
18 If the witness fails to do so within the time
19 allotted, the transcript may be used as if signed.
20
21
22            Yours,
23            Veritext Legal Solutions
24
25
                                                                    Page 55

                                                                                         15 (Pages 54 - 55)
                                                              Veritext Legal Solutions
                                                                   346-293-7000
